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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Great American Assurance Company, )
                                  )
     Plaintiff,                   )
                                  )             CIVIL ACTION FILE NO:
vs.                               )             1:18-cv-04974-TWT
                                  )
Braddy Preparatory Academy, Inc., )
                                  )
        Defendant.                )
                                  )
vs.                               )
                                  )
Powers-Leavitt Insurance          )
Agency Inc.,                      )
                                  )
        Third-Party Defendant.    )


                CONFIDENTIALITY ORDER ON RECORDS

      The Parties having indicated by signature herein below that they consent to

and agree that a Confidentiality Order should be entered for the purpose of

protecting confidential information of Plaintiff, Defendant, and Third-Party

Defendant in the possession of the parties, certain nonparties and released to

counsel for the parties during discovery.




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                                          1.

      The parties agree that this Confidentiality Order shall specifically apply to

the following information:

      a.     Any and all of Great American Assurance Company’s (Great

American) underwriting guidelines of property insurance (Bate Stamp DP 6754 –

6790 of Great American’s Document Production), responsive to Defendant’s First

Request for Production of Documents.

                                          2.

      No document, or other tangible thing or information described in Paragraph

1 may be disclosed to any person, except for the following:

      Defendant and Third-Party Defendant and their employees involved with the

defense of this lawsuit, counsel of record and members of their law firms, expert

witnesses retained in this matter, and any participants in any proceedings before

the Court.

                                          3.

      Great American’s underwriting guidelines of property insurance produced to

Defendant and Third-Party Defendant, pursuant to Paragraph 1above, shall be used

only in the course of the above-captioned proceedings and shall not be used or

provided for use in any other litigation or proceedings and specifically shall not be


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disclosed to other parties in other litigation against Plaintiff, Defendant, and/or

Third-Party Defendant, their parent companies, and subsidiaries. Any person

receiving the underwriting guidelines shall execute an acknowledgement attached

hereto as Exhibit A, acknowledging their understanding and agreement to be

bound by the terms of this Confidentiality Order.

                                           4.

      Great American’s underwriting guidelines of property insurance produced to

Defendant and Third-Party Defendant, pursuant to Paragraph 1 above, shall not be

published orally, by copy, or by any other means to any person other than those

persons enumerated in Paragraph 2 of this Order.

                                           5.

      Upon conclusion of this action, counsel for Defendant and Third-Party

Defendant shall return to counsel for Great American, or, in the alternative,

destroy, the original and all copies made of such documents and materials

described in Paragraph 1 above.

                                           6.

      After the final termination of this action, the restrictions on communication

and disclosure provided for herein shall continue to be binding upon the parties and

all other persons to whom the underwriting guidelines designated as “confidential”


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or information contained therein have been communicated or disclosed pursuant to

the provisions of this Order or any other Order of the Court.

                                           7.

      In the event a party, non-party or their attorney is required to appear in any

subsequent legal proceeding which may concern the underwriting guidelines

designated as “confidential” or information contained therein, said party, non-party

or their attorney will notify the parties’ designated agent after receipt of such

process (including summons, subpoena or court order). The parties may thereafter

take such action as they deem necessary to prevent the disclosure of the

documents. The person required to testify may respond to any questions regarding

the documents unless they are directed by a Court to refrain from testifying.

                                           8.

      The parties’ attorneys of record shall be designated as agents to receive the

notifications contemplated under this Order.

      Great American’s designated agent is its attorney of record, H. Michael

Bagley.

      Braddy Preparatory Academy, Inc.’s designated agents are its attorneys of

record, David Forestner and Mark Battleson.




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        Powers-Leavitt Insurance Agency, Inc.’s designated agents are its attorneys

of record, William T. Mitchell and Matt Dowling.

        The parties agree that each party may change said designated agent(s) from

time to time upon reasonable written notice to named counsel of record in this

case.

                                           9.

        If Great American wishes to file with the Court the underwriting guidelines

designated as “confidential” by this order, and wishes to have the underwriting

guidelines filed under seal, Great American shall follow the procedures set forth in

Section II(J) of Appendix H of the Local Rules for the Northern District of

Georgia. In the event that the Court denies Great American’s motion to seal the

materials, Great American shall have the option of filing the materials without seal

or withdrawing the materials.

                                          10.

        If Defendant or Third-Party Defendant intends to file with the Court the

underwriting guidelines designated as “confidential” by this order, that party shall,

not less than five (5) days prior to filing such material, contact Great American,

and:

        (a)   identify the specific material to be filed; and


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      (b)    request whether Great American wishes to seek to have such material

filed under seal.

      If Great American does not provide written notice that it wishes to have the

materials filed under seal, the filing party may proceed to file the materials without

seal. If Great American does wish to have the materials filed under seal, Great

American shall provide written notice to the filing party and the filing party shall

follow the procedures set forth in Section II(J) of Appendix H of the Local Rules

for the Northern District of Georgia. In the event that the Court denies the filing

party’s motion to seal the materials, the filing party may proceed to file the

materials without seal.



      SO ORDERED this 21st day of June, 2019.



                                 /s/ Thomas W. Thrash
                                 THOMAS W. THRASH, JR., JUDGE
                                 U.S. DISTRICT COURT NORTHERN
                                 DISTRICT OF GA ATLANTA
                                 DIVISION



CONSENTED TO BY:

TAYLOR ENGLISH DUMA LLP


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/s/ David Forestner
David Forestner
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1600 Parkwood Circle, Suite 200
Atlanta, GA 30339


BATTLESON LAW, LLC


/s/ Mark Battleson
Mark Battleson
Georgia Bar No.: 042715
3280 Peachtree Road NE
Terminus 100, 7th Floor
Atlanta, Georgia 30305


Counsel for Braddy Prep



DREW, ECKL & FARNHAM, LLP

/s/ H. Michael Bagley
H. Michael Bagley
Georgia Bar No.: 031425
880 West Peachtree Street
Atlanta, Georgia 30309

Counsel for Great American



CRUSER, MITCHELL, NOVITZ, SANCHEZ,
GASTON & ZIMET, LLP

/s/ William T. Mitchell

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William T. Mitchell
Georgia Bar No. 513810

/s/ Matthew I. Dowling
Matthew I. Dowling
Georgia Bar No. 110609

Meridian II, Suite 2000
275 Scientific Drive
Norcross, GA 30092

Counsel for Powers-Leavitt Insurance Agency, Inc.



                  CERTIFICATE OF FONT COMPLIANCE
            Counsel for Defendant hereby certifies that the forgoing has been

prepared with one of the font and point selections approved by the Court: Times

New Roman 14 Point.




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                        Exhibit “A” to Confidentiality Order on Records

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

Great American Assurance Company,                )
                                                 )
       Plaintiff,                                )
                                                 )   CIVIL ACTION FILE NO:
vs.                                              )   1:18-cv-04974-TWT
                                                 )
Braddy Preparatory Academy, Inc.,                )
                                                 )
         Defendant.                              )
                                                 )
vs.                                              )
                                                 )
Powers-Leavitt Insurance                         )
Agency Inc.,                                     )
                                                 )
         Third-Party Defendant.                  )

               AGREEMENT CONCERNING INFORMATION COVERED BY
                    CONFIDENTIALITY ORDER ON RECORDS

       I have been designated as a person who may have access to or receive certain

Confidential Information as that term is designated in the CONFIDENTIALITY ORDER ON

RECORDS entered in the above-styled action.

       Having read the CONFIDENTIALITY ORDER ON RECORDS, I agree to comply

fully with it and to be bound by its terms with respect to all Confidential Information as

designated therein. I agree not to copy or disclose any Confidential Information that has been

disclosed to me to any person or entity not authorized under the CONFIDENTIALITY

ORDER ON RECORDS to receive, review, use or possess Confidential Information.
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Executed this ____day of _________________________, 201__.




                                         Signature


                                         Print Name




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                        Exhibit “A” to Confidentiality Order on Records

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

Great American Assurance Company,                )
                                                 )
       Plaintiff,                                )
                                                 )   CIVIL ACTION FILE NO:
vs.                                              )   1:18-cv-04974-TWT
                                                 )
Braddy Preparatory Academy, Inc.,                )
                                                 )
         Defendant.                              )
                                                 )
vs.                                              )
                                                 )
Powers-Leavitt Insurance                         )
Agency Inc.,                                     )
                                                 )
         Third-Party Defendant.                  )

               AGREEMENT CONCERNING INFORMATION COVERED BY
                    CONFIDENTIALITY ORDER ON RECORDS

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RECORDS entered in the above-styled action.

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ORDER ON RECORDS to receive, review, use or possess Confidential Information.
 Case 1:18-cv-04974-SDG Document 44 Filed 06/21/19 Page 12 of 12




Executed this ____day of _________________________, 201__.




                                         Signature


                                         Print Name




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